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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION
                                     www.flsb.uscourts.gov

    In re:                                                         Case No. 22-17842-PDR
                                                                   Chapter 11 Cases
    VITAL PHARMACEUTICALS, INC., et al., 1                         Jointly Administered

                               Debtors.

    JOHN H. OWOC,
                                                                   Adv. No.
             Plaintiff,

    v.

    VITAL PHARMACEUTICALS, INC., et al.,

             Defendants.

                           COMPLAINT FOR DECLARATORY RELIEF

             John H. Owoc sues Vital Pharmaceuticals, Inc. (“VPX”) and its affiliated debtors in the

above-captioned chapter 11 cases (collectively, the “Debtors”) and alleges as follows:

                                     PRELIMINARY STATEMENT

             1.     This action and accompanying motion for a temporary restraining order and

preliminary injunction relates to Mr. Owoc’s efforts to terminate VPX’s status as an S Corporation

pursuant to 26 U.S.C. § 1362(d). The fact that Mr. Owoc has not taken any steps to terminate

VPX’s status to date is caused by this Court’s Order holding that VPX’s status as an S Corporation

is property of the estate. See Memorandum Opinion and Order Denying John H. Owoc’s



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  The Debtors include (i) Vital Pharmaceuticals, Inc.; (ii) Bang Energy Canada, Inc.; (iii) JHO Intellectual Property
Holdings, LLC; (iv) JHO Real Estate Investment, LLC; (v) Quash Seltzer, LLC; (vi) Rainbow Unicorn Bev LLC; and
(vii) Vital Pharmaceuticals International Sales, Inc. The address of the Debtors is 1600 N. Park Drive, Weston, FL
33326. The last four digits of the Debtors’ federal tax identification numbers are: (i) Vital Pharmaceuticals, Inc.
(8430); (ii) Bang Energy Canada, Inc. (5454); (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO Real
Estate Investment, LLC (9394); (v) Quash Seltzer, LLC (6501); (vi) Rainbow Unicorn Bev LLC (2254); and (vii)
Vital Pharmaceuticals International Sales, Inc. (8019).
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Emergency Motion for Confirmation the Automatic Stay Does Not Apply to Revocation of Debtor’s

Subchapter S Corporate Status, or Alternatively, for Stay Relief entered by the Bankruptcy Court.

(Bankr. Dkt. 1951) (the “S Corporation Order”).

        2.      Because Debtors’ Chapter 11 Plan has been confirmed, the Liquidating Trustee

appointed under the Plan now has the discretion to cancel Mr. Owoc’s shares in VPX on the

Effective Date. The cancellation of the shares may result in VPX, as the adverse party to Mr. Owoc

arguing this is action moots appeal of the S Corporation Order and prevents him from exercising

his rights as the sole shareholder of VPX.

        3.      Mr. Owoc seeks to preserve the status quo while he appeals the Court’s S

Corporation Order. Accordingly, the Court should preserve Mr. Owoc’s right to judicial review

and enjoin the Liquidating Trustee to refrain from cancelling or extinguishing Mr. Owoc’s equity

interests in VPX while his appeal of the S Corporation Order remains pending.

                                 JURISDICTION AND VENUE

        4.      This Court has jurisdiction over this adversary proceeding under 28 U.S.C. §§ 157

and 1334. This is a core proceeding under 28 U.S.C. § 157(b).

        5.      Venue is proper under 28 U.S.C. § 1409(a). This adversary proceeding is related to

the Chapter 11 Cases, which are pending in this Court.

        a.      Rule 7001(2) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), which allows for a proceeding “to determine the validity, priority, or extent of a lien or

other interest in property”;

        b.      Rule 7001(7) of the Bankruptcy Rules, which allows for a proceeding to “obtain an

injunction or other equitable relief;




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        c.      Rule 7001(9) of the Bankruptcy Rules, which allows for a proceeding to obtain a

declaratory judgment relating to the foregoing; and

        d.      1 U.S.C § 105(a), which allows this Court to “issue any order, process, or judgment

that is necessary or appropriate to carry out the provisions of” title 11 of the United States Code

(the “Bankruptcy Code”)

        6.      Declaratory relief is appropriate pursuant to both Rule 7001 of the Bankruptcy

Rules and 28 U.S.C. §§ 2201 – 02 (the “Declaratory Judgment Act”).

        7.      As set forth below, an actual legal controversy exists with respect to the declaratory

relief requested herein.

        8.      Pursuant to Rule 7008 of the Bankruptcy Rules, Plaintiffs consent to the entry of a

final judgment or order with respect to this Complaint if it is determined that this Court would lack

Article III jurisdiction to enter such final order or judgment absent the consent of the parties.

                                             PARTIES

        9.      Plaintiff Mr. Owoc is the Debtors’ former Chief Executive Officer and Chief

Science Officer and former Chairman of the Debtors’ Board, and resides in Broward County,

Florida.

        10.     Debtors VPX, and Bang Energy Canada, Inc., are Florida corporations. Debtors

JHO Intellectual Property Holdings, EEC (“JHO”), JHO Real Estate Investment, LLC, Quash

Seltzer, LLC, and Rainbow Unicom Bev LLC are Florida limited liability companies. Debtor Vital

Pharmaceuticals International Sales, Inc., is a Delaware corporation. The Debtors’ principal place

of business is located at 1600 N. Park Drive, Weston, Florida. Each Debtor is wholly owned by

Mr. Owoc.




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                                  FACTUAL ALLEGATIONS

        A.      The S Corporation Motion

        11.     Mr. Owoc is the founder, sole shareholder and former CEO of VPX. In 1997,

shortly after founding VPX, Mr. Owoc, as VPX’s sole shareholder, and VPX elected to classify

VPX as an S Corporation pursuant to § 1362(a) of the Internal Revenue Code. VPX has remained

an S Corporation from its initial election through the present date.

        12.     On July 11, 2023, Mr. Owoc sought confirmation from the Bankruptcy Court that

VPX’s status as an S Corporation was not property of the bankruptcy estate by filing an Emergency

Motion “For Confirmation That The Automatic Stay Does Not Apply To Termination of Debtor’s

Subchapter S Corporation Status Or, Alternatively For Relief From Stay” (the “S Corporation

Motion”). (Dkt. 1627).

        13.     The Court held a trial on the motion on July 28, 2023. Following the trial, the Court

denied Mr. Owoc’s motion to the extent that Mr. Owoc sought to compel an officer of VPX to sign

and file a statement of revocation of the Subchapter S election and to sign and file an election to

allocate income and expenses based on the “close the books” approach under 26 U.S.C. § 1362(e)

and Treasury Regulation § 1-1362-6. (Dkt. 1746).

        14.     On October 6, 2023, the Court issued the S Corporation Order, in which it denied

Mr. Owoc’s S Corporation Motion in full. (Dkt. 1951). In the S Corporation Order, the Court

determined (1) that the doctrine of laches did not bar Mr. Owoc from seeking to revoke VPX’s

status as an S Corporation, (2) that VPX’s status as an S Corporation was property of the

bankruptcy estate as defined by 11 U.S.C. § 541, and (3) that Mr. Owoc had failed to demonstrate

that he was entitled to relief from the automatic stay. Id.

        15.     On October 19, 2023, Mr. Owoc timely appealed the S Corporation Order to the

District Court where it is currently pending. (Dkt. 2055).
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        16.     On October 16, 2023, Mr. Owoc filed an “Expedited Motion for Relief from the

Automatic Stay.” This motion sought to clarify that the Court’s ruling further applied to any

attempt to terminate the S Corporation election. (Bankr. Dkt. 2016). The Bankruptcy Court denied

that motion on November 13, 2023. (Bankr. Dkt. 2266).

        B.      The Chapter 11 Plan of Liquidation

        17.     On November 8, 2023, this Court approved the Debtors’ Second Amended Joint

Plan of Liquidation. (Dkt. 2258). The Debtors’ Plan is reflected in Debtors’ Second Amended Joint

Plan of Liquidation, dated September 15, 2023, (Dkt. 1905), as supplemented by the Notice of

Filing of Plan Supplement, dated October 17, 2023 (Dkt. 2051), and the Notice of Filing of Second

Plan Supplement, dated October 25, 2023. (Dkt. 2115). The Second Amended Joint Plan of

Liquidation, the Notice of Filing of Plan Supplement, and the Notice of Filing of Second Plan

Supplement are collectively referred to herein as the “Plan.”

        18.     Among other things, the Plan provides for the establishment of a Liquidating Trust

to distribute the Liquidating Trust Assets of the Debtors and for the appointment of a Liquidating

Trustee to act as the exclusive representative of the Estate. (Dkt. 1905). The Liquidating Trustee’s

powers include the authority to “determine, in the Liquidation Trustee’s sole discretion, whether

and when, to (i) cancel and extinguish the Existing Equity Interests; (ii) transfer the Existing Equity

Interests into the Liquidating Trust; or (iii) provide other treatment for the Existing Equity Interests

consistent with the terms of [the] Plan and the Sale Order.” (Dkt. 1905 at Art. IV, F. (2)).

        19.     As of the date of this Complaint, Debtors have not filed a Notice of Effective Date

and, to Mr. Owoc’s knowledge, the Liquidating Trustee has not taken any action with respect to

Mr. Owoc’s equity interest in VPX.




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                                                COUNT I
                                          Declaratory Judgment

        20.      The allegations set forth in Paragraph 1 through Paragraph 20 are incorporated by

reference as if set forth fully herein.

        21.      An actual legal and substantial controversy exists as to whether the Liquidating

Trustee, when appointed, has the authority and discretion to cancel Mr. Owoc’s shares in VPX.

        22.      This controversy is of sufficient immediacy to warrant judicial relief under the

Declaratory Judgment Act.

        23.      Mr. Owoc is entitled to a declaratory judgment that the Liquidating Trustee, when

appointed, cannot exercise the authority and discretion to cancel Mr. Owoc’s shares in VPX unless

and until all courts, including appellate courts, have adjudicated the issues outlined in the S

Corporation Order.

                                      PRAYER FOR RELIEF

        WHEREFORE, Mr. Owoc respectfully requests this Court enter a final judgment:

        a. confirming through a declaratory judgment that the Liquidating Trustee, when

              appointed, cannot exercise the authority and discretion to cancel Mr. Owoc’s shares in

              VPX unless and until all courts, including appellate courts, have adjudicated the issues

              outlined in the S Corporation Order;




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        b. granting such other and further relief as the Court deems just and proper.

Dated: November 20, 2023                     PHANG & FELDMAN, P.A.
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